   

Case 1 04 cv 01290 .]DT d|<v Document 19 Filed 08/16/05 Page 1 of 3 Page|D 14

IN THE UNITED STATES DISTRICT COURT FBHJB

 

 

     
    
   
 
 

THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION
0|+
TERRY L. CHARLTON
Plaintiff,
1 ~.1§;';1'1°
vs. No. 1:0
TENNESSEE DEPARTMENT
OF CORRECTION et al,.
De£eudants.
MOTION TO VOID MOTION FOR EXTENSIOd/6F TIME
- /
COMES NOW, Plaintiff in the above styled actio and respectfully moves
this Court to void petitioner's Motlon For Exte ion of Time.

Detitioner submits that the record will s w that sald petltloner filed
a Motlon For Extenslon of Time entered int record on the date of August
nsion of time to respond to the Defendant'

IOth 2005
` Sa1d Mbtion was to request an e
etltioner moves that he has a Motlon in

Motion To Dismiss. However, th . ' '
Motion To Dismiss pending before this Court

Opposition to the Defendant'
" reason of human error, the Plaintiff requests that h1s

that was over-looked.

For the "good fa
Motion for Exten on of Time be void and/or stricken.
d~@c-'z-;,/{ ( /mm(f"

Terry L{ /Charlton, Plaintiff

Entered t is llth_day of Auggst, 2005

d

cf 33

~1 66
=:

q

>~ 33

29 co

0 ::1

55 "“

`“ ‘c’=’

  

kt h atin compliance § _
Thls documeni emmd°“the doc a § Z|'l H 25 ~31 Dismct Judge

whhHmeBBandbr_?Q@qFRCPon

' Case 1:04-cv-01290-.]DT-de Document 19 Filed 08/16/05 Page 2 of 3 Page|D 15

-ceRTlFch-.T€ oF ss:z.\nc€ ~-

J; HEREBY capale THAT A TRL)E AND`E,>¢ACT <;oPY

OF:,' ' MOTION TO V'OID MOTION FOR EXTENSION OF TIME

 

HAS ' seem PORWARDED E>\( Fuzsr c;LASs, \U- 61 MAH_ WITH
pOST‘AGE PA\DITO; Pentecost, Gleen 81 Rudd ' `
. ' 106 Stonebridge Blvd.

Jackson, Tennessee 38305

 

 

ON TH[S llth DA\{ OF.‘ August 2005 c

 

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 1:04-CV-01290 Was distributed by faX, mail, or direct printing on
August 17, 2005 to the parties listed.

ESSEE

 

Terry L. Charlton

WH[TEVILLE CORRECTIONAL FACILITY
102704

P.O. Box 679

Whiteville, TN 38075

Kimberly J. Dean

OFFICE OF THE ATTORNEY GENERAL
P.O. Box 20207

Nashville, TN 37202--020

J on A. York

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

Gustavus A. Puryear

CORRECTIONS CORPORATION OF AMERICA
Burton Hills Blvd.

Nashville, TN 37215

J ames 1. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

Honorable J ames Todd
US DISTRICT COURT

